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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




SHANNON M. SELL                                      :
                                                     :
                     v.                              :     CIVIL ACTION NO. 17-1190
                                                     :
BOROUGH OF BRIDGEPORT, PENNSYLVANIA:


                                           ORDER


               AND NOW, TO WIT: This 12th                day of October , 2017, it having been

reported that the above captioned action has been settled and upon Order of the Court pursuant to

the provisions of Federal Rule of Civil Procedure 41(a)(1)(A)(ii) and Rule 41.1(b) of the Local

Rules of Civil Procedure of this Court, it is ORDERED that the above captioned action is

DISMISSED with prejudice, pursuant to agreement of counsel without costs.

                                                KATE BARKMAN, Clerk of Court


                                                BY: /s/ Donna Donohue Marley
                                                    Civil Deputy Clerk to Judge Surrick



Emailed: 10/12/17

R. Davitch, Esquire
S. Gold, Esquire
T. Greenberg, Esquire
J. Santarone, Esquire
